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                                                                       UNITED STATES DISTRICT COURT
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                                                                      CENTRAL DISTRICT OF CALIFORNIA
                                          15
                                                                                    WESTERN DIVISION
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                                               ALS SCAN, INC.,                                Case No.: 2:16-cv-05051-GW-AFM
                                          18
                                                                Plaintiff,                    DEFENDANT CLOUDFLARE’S
                                          19                                                  PRETRIAL “TO DO” LIST
                                                     v.
                                          20                                                  Date:      April 26, 2018
                                          21 CLOUDFLARE, INC., et al.,                        Time:      8:30 A.M.
                                                                                              Dept:      9D
                                          22                    Defendants.                   Judge:     Hon. George H. Wu
                                                                                              Trial Date: May 1, 2018
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                                               CLOUDFLARE’S PRETRIAL “TO DO” LIST                       CASE NO. 2:16-CV-05051-GW-AFM
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                                           1             Pursuant to the Court’s instruction at the pretrial conference today, April 23,
                                           2 2018, Cloudflare submits a list of open issues and three jury instructions that it
                                           3 believes should be addressed at the continued pretrial conference on Thursday,
                                           4 April 26. Cloudflare sought to work with ALS and agree to a joint filing, but after
                                           5 it provided its proposed additions and edits, ALS refused to work on the joint filing
                                           6 further and immediately filed its own statement. This has left Cloudflare unable to
                                           7 comply with the Court’s order to file this document jointly.
                                           8             The open issues are as follows:
                                           9             1.      ALS Motions in Limine Nos. 1-9, 11, 13-16. See Dkt. 412, 412-1,
                                          10 412-2, 449, 449-1, 464.1
                                          11             2.      Cloudflare Motions in Limine Nos. 1-11 and Motions to Exclude as to
                                          12 putative experts Dr. Barbara Luna and Dr. Shahram Ghandeharizadeh. See Dkt.
F ENWICK & W EST LLP




                                          13 417-426, 428, 429, 446, 447, 448, 454, 455, 456, 458, 482, 487.
                       ATTORNEYS AT LAW




                                          14             3.      Entry of the Joint Final Pretrial Conference order. Dkt. 453-1.
                                          15             4.      Joint short statement of the case. Dkt. 462.
                                          16             5.      Whether Cloudflare’s DMCA defenses [17 U.S.C. §§ 512(a) and (b)]
                                          17 should go to the jury or, as ALS contends, are unavailable as a matter of law? See
                                          18 Dkts. 148 (Third Amended Complaint), 325 pp. 18-20, 376 pp. 15-20, 400 pp. 10-
                                          19 12, 401 ¶¶ 16-18, Dkt. 405 p. 19, Dkt. 478 pp. 12-15, 17-18, Dkt. 481 pp. 8, 9.
                                          20 Compare with Dkt. 376 at 13-25; Dkt. 381 ¶¶ 3, 5-20, Exs. E-H; Dkt. 382 ¶¶ 3-9,
                                          21 Ex. A; Dkt. 383 ¶¶ 2-19, 24-25, Exs. 1-24, 26, 27; Dkt. 384 at ¶¶ 3, 5, 7, and 10 and
                                          22 cited exhibits.
                                          23             6.      Objections to exhibits. See Dkt. 459, 483.2
                                          24             7.      The jointly requested written jury questionnaire. Dkt. 486.
                                          25   1
                                               The motions are proceeding only as to Cloudflare. Cloudflare stipulated to MIL
                                          26 No. 10 and the Court orally granted the motion. MIL Nos. 12, 17, 18 and 19
                                             pertained to Steadfast only and were withdrawn.
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                                               The parties are currently working on a revised Joint Exhibit List with up-to-date
                                          28 objections, replies, etc.

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                                           1             8.      Voir dire questions submitted by ALS and Cloudflare. Dkt. 476, 488.
                                           2             9.      Objections to video testimony. Dkt. 484.
                                           3
                                           4             Cloudflare requests the Court to give the following three instructions: a) Joint
                                           5 Instr. 43;3 b) Joint Instr. 47; c) Joint Instr. 48. Dkt. 460.
                                           6
                                           7 Dated: April 23, 2018                        Respectfully submitted,
                                           8                                              FENWICK & WEST LLP
                                           9
                                          10                                              By: /s/ Andrew P. Bridges
                                          11                                                  Andrew P. Bridges
                                          12                                                  Attorneys for Defendant
F ENWICK & W EST LLP




                                          13                                                  CLOUDFLARE, INC.
                       ATTORNEYS AT LAW




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                                               Cloudflare believes that under Grokster, the Court should instruct the jury under
                                          27 its version of proposed instruction 42, but it submitted instruction 43 on the
                                             assumption that the Court will wish to instruct the jury on a “material contribution”
                                          28 theory.

                                                   CLOUDFLARE’S PRETRIAL “TO DO” LIST        2               CASE NO. 2:16-CV-05051-GW-AFM
